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                            UNITED STATES DISTRICT COURT

                             MIDDLE DISTRICT OF LOUISIANA

 LEROY TENNART, ET AL.
                                                    CIVIL ACTION
 VERSUS
                                                    NO. 17-179-JWD-EWD
 CITY OF BATON ROUGE, ET AL.

                                              ORDER

         This matter comes before the Court on the Motion for Summary Judgment (Doc. 98) filed

by the Louisiana Sheriff’s Association (“LSA”) Defendants. Plaintiffs oppose the motion (Doc.

107), and LSA Defendants have filed a reply (Doc. 114). Oral argument was heard today. The

Court has carefully considered the law, the facts in the record, and the arguments and submissions

of the parties and is prepared to rule. For oral reasons to be assigned,

         IT IS ORDERED that LSA Defendants’ motion is GRANTED IN PART, DENIED

WITHOUT PREJUDICE IN PART, and DEFERRED IN PART.

         IT IS FURTHER ORDERED that the motion is GRANTED as to the § 1983 claims

against Hurst and Cazes in their individual capacity, as Plaintiffs have failed to allege any personal

participation by them in the alleged constitutional violations.

         IT IS FURTHER ORDERED that the motion is DEFERRED as to the § 1983 and §

1985(3) conspiracy claims against Hurst and Cazes pending limited written discovery on the

narrow issue of which individual defendants (if any) were involved in the alleged constitutional

violations. The Magistrate Judge will determine what limited discovery will be allowed for this

issue.

         IT IS FURTHER ORDERED that the motion is GRANTED as to the § 1983 official

capacity claim against the LSA for lack of an underlying constitutional violation.
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         IT IS FURTHER ORDERED that the motion is GRANTED as to the state law claims

allegedly committed by Hurst and Cazes in their individual capacity, but DENIED WITHOUT

PREJUDICE as to any claim of vicarious liability against them.

         IT IS FURTHER ORDERED that, to the extent the motion was granted, Plaintiffs are

given leave to amend to cure the deficiencies of the operative complaint. Plaintiffs must file their

next amended complaint within thirty (30) days of the completion of the limited discovery set forth

above.

         IT IS FURTHER ORDERED that LSA Defendants shall have seven (7) days from this

ruling to supplement the record with affidavits that are properly notarized and that have the correct

date. The substance of the affidavits must otherwise remain the same.

         Signed in Baton Rouge, Louisiana, on September 6, 2018.




                                                  S
                                         JUDGE JOHN W. deGRAVELLES
                                         UNITED STATES DISTRICT COURT
                                         MIDDLE DISTRICT OF LOUISIANA




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